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                              EXHIBIT A




11240624.1
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                          STATE OF MARYLAN D
                      LETTERS OF ADMI N ISTRATION

                                       ESTATE NO. W
                                                  _ 11_2_2_98_ __




                               I certify that administration of the Estate of

                                               SAM MINGSAN CHEN

   was granted on the        27th            day of                 JANUARY, 2023
   to
        - - - - - - - - - - - - - -LI-FEN
                                       -- YAO
                                            -- -- - - - - - - - - - -


                     as personal representative(s) and the appointment is in effect
                              this      30th     day of   JANUARY       2023      ,


        @ Will probated   January 27, 2023
                                    (date)

        D Intestate estate



                                                                     JOSEPH MGRIFFIN
                                                                      Register of Wills for

                                                                    MONTGOMERY COUNTY


                 VALID ONLY IF SEALED WITH THE SEAL OF THE COURT OR THE REGISTER
RW1120                                                                                        ROWNET
                                                                                              11/2 009
